                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI


BARBARA WATTERS,                                   )
                                                   )
                       Plaintiff,                  )
                                                   )
v.                                                 )          Case No. 3:20-cv-05044-MDH
CITY OF JOPLIN and                                 )
ROB CHAPPEL,                                       )
                                                   )
                       Defendants.                 )


                                              ORDER

        On September 21, 2020, this Court entered an order directing Plaintiff to report to the

Court her status on the parties’ Rule 26 meeting, Disclosures, and Early Assessment on or before

September 30, 2020. Plaintiff failed to report. On October 6, 2020, the Court directed Plaintiff to

report to the Court regarding compliance with the Court’s Early Assessment Program by October

30, 2020. Plaintiff again failed to report. It is hereby ordered that this case is dismissed without

prejudice for failure to prosecute and failure to respond to court directives.



IT IS SO ORDERED.

Dated: November 2, 2020                                        /s/ Douglas Harpool________
                                                              DOUGLAS HARPOOL
                                                              United States District Judge




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